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                                                                                 2022 Jan-18 PM 03:29
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD )
ANTITRUST LITIGATION (MDL No. )
2406),                           )
                                 ) CIVIL ACTION NUMBER:
      Plaintiff,                 ) Master File No. 2:13-CV-20000-
                                 ) RDP
                                 )
________________________________ )

  SELF-FUNDED SUBCLASS OBJECTORS’ OBJECTION TO MOTION
    FOR SUPPLEMENTAL NOTICE TO SELF-FUNDED ACCOUNTS

      The Self-Funded Subclass Objectors object to one aspect of the Motion for

Supplemental Notice to Self-Funded Accounts. (Doc. 2885). The Supplemental

Notice Plan incorporates and relies upon the same incorrect and prejudicial date of

September 1, 2015 to define the earliest bound of the class definition for the Self-

Funded Subclass. This date is based on the flawed statute of limitations analysis to

which the Self-Funded Subclass Objectors have previously objected. The Self-

Funded Subclass Objectors incorporate their arguments from their objection (Doc.

2812-19), the reply in support of their objection (Doc. 2845), their arguments at the

fairness hearing, and their post-hearing briefing (Doc. 2877) regarding the use of

September 1, 2015 as the starting date for determining membership in the Self-

Funded Subclass.
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      Membership in the Self-Funded Subclass should be determined by reference

to February 7, 2008, the date used for the Fully Insured Class.

      Respectfully submitted this 18th day of January 2022.

                                                      s/J. Thomas Richie
                                              One of the Attorneys for Objectors


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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 18, 2022, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system which will send notification

of such filing to all counsel of record.

                                                   /s/ J. Thomas Richie
                                                     J. Thomas Richie




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